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      ST. LOUIS - Former St. Louis Alderman Jeffrey Boyd is expected to plead guilty to
      federal corruption charges alleging he took bribes in exchange for tax breaks.

     Court documents show Boyd, who originally pleaded not guilty to two bribery counts as
     well as two counts of wire fraud related to an automobile insurance scheme, is scheduled
     to change his plea Aug. 26, according to court documents.




      Boyd's attorney, Lenny Kagan, declined to comment.
                                -    -   -- -    --- -                              -   - - - - --

      Boyd is one of four st: Louis area public officials to be indicted as part of an investigation
      that relied upon the same informant, who caught the alleged bribes while wearing wires for
      the FBI.

      He is the second to schedule a change-of-plea hearing. They have until today to notify the
      court on whether they want to schedule any change-of-plea hearings, otherwise the trial is
      scheduled for Sept. 12, according to courf documents.

      The U.S. Attorney's Office has accused Bo1(_d, former 22nd Ward Alderman, of accepting
      $9,500 in cash and about $2,344 in car repairs. He is facing a potential maximum
      sentence of 55 years.

      The feds say Boyd helped their informant buy a commercial property along Geraldine
      Avenue that was owned by the city's Land Reutilization Authority as well as get tax
      abatement for the site. He's also accused of filling out the application for the informant and
      lying about how much the project would cost and how long it would take to build to get
      better tax credits.

   -· Former Board of Al.derman President Lewis Reed, former Alderman John Collins--- -
      ~ and former St. Louis County Executive Sam Page appointee Tony Weaver
      have also been indicted for their alleged work with the same informant.

      Collins-Muhammed also has a change-of-plea hearing scheduled. He originally pleaded
      not guilty to the changes against him but is now scheduled to appear before District Judge
      Stephen R. Clark Aug.                     ?3
                                 to change his plea.

      Collins-Muhammad is facing three charges, which carry a maximum of 35 years in prison
      combined. His attorney, Joseph Flees, told 5 On Your Side he plans to seek probation and
     .non-incarceration. ?Ct::_'o vJiiy')                          ·
      "There is no excuse for his conduct, but he has a lot of potential for rehabilitation and he's
      got a family," Flees said.


   https://www.ksdk.com/article/news/crime/former-st-louis-alderman-plead-gu ilty-federal-corruption-charges/63-fO 136ae4-b382-4bc0-9bd9-fca2161 e8a 1d   1/2
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    Fiees said he expects his client's sentencing hearing to be set sometime in November or
    Decemoer.

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    Reed has so far waived his right to pretrial motions - which could be a sign of a plea as
    well -· but he does not have a change-of-plea hearing filed .

    His 3'.torney, Scott Rosenblum, has not yet returned a phone call seeking comment.

    Wea 1 er also got indicted as part of the same investigation.
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     In JJne, his attorneys asked for and received more time to review all of the evidence
     ag 0 nst Weaver to prepare for pre-trial motions.

     Pale appointed Weaver in Janua_ry 2020 as the Change Management Coordinator at the
     St.Louis County Justice Services Center.
             '
     Pci-.e fired him following the indictment, which alleged Weaver participated in a COVID-19
     re~f funds fraud scheme.




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